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               EXHIBIT TT
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1    Call Date:       11/05/2018

2    Call Duration: 09:12

3    Call Begin [] Call End []

4    Call Participants:

5        Rick Singer

6        John

7    File Name:             8802 2018-11-05 21-33-16 11187-001

8    Bates No.:

9

10   JOHN:      [00:00] Hey, Rick, how are you?

11   SINGER:    John, where are you at?

12   JOHN:      I’m in Texas.     I’m in Dallas heading back to Houston

13       tonight.     Had a big dinner meeting here with another

14       client.

15   SINGER:    OK.

16   JOHN:      Flying back.    I’m back in the US.     I came in from,

17       uh, Saudi Arabia was last week.

18   SINGER:    And how was it?

19   JOHN:      Uh, interesting.     It’s -- a lots different.      You

20       know, things are, you know...        Have you been to Saudi

21       Arabia before?     It’s -- it’s pretty dry and stiff.        You

22       know, both no liquor and not a lot of fun.          But it’s even

23       a bit more somber these days with the whole Khashoggi
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1        thing.    No one makes any jokes, who’s listening where,

2        you know.

3    SINGER:    Right.    Did you -- did you guys enjoy yourself at

4        least on the whole trip?

5    JOHN:      Oh, it was all business.      That was business.       I met

6        Leslie in Paris after.      That was all business stuff.

7    SINGER:    Oh, OK.   I got you.

8    JOHN:      Yeah, so I was in Saudi and Dubai and Abu Dhabi and

9        Kuwait and then back over here.        Oil client.    Yeah.

10   SINGER:    OK.

11   JOHN:      Yeah.

12   SINGER:    So here’s -- so here’s where we are.

13   JOHN:      How you doing?

14   SINGER:    I’m good.   So (inaudible).

15   JOHN:      When was your call -- when does your application

16       thing get done?     What’s the deadline on all that stuff?

17   SINGER:    [01:00] Well, we just finished November 1st, which is

18       the huge deadline.      Uh, because, remember, that’s early

19       action, early decision.

20   JOHN:      OK.

21   SINGER:    Now we have a November 15th and a November 30th and

22       then pretty much life is, uh, much easier.

23   JOHN:      Oh, after November 30th.     OK.
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1    SINGER:     Yeah, because the UCs are due November 30th.       USC is

2        due November 30th, all that.       So -- but let me give you an

3        update.

4    JOHN:       OK.

5    SINGER:     So, um, we got the Stanford spot.       They want to know

6        if you want it because I have to pay the coach, um, right

7        away.     Harvard I’m working through to try to get us 1 or

8        2 spots.      It will not happen for several months before I

9        even know anything because --

10   JOHN:       Mm-hmm.

11   SINGER:     -- they are still working...     You know, the kids

12       from this year haven’t even been admitted.          And then I’m

13       working on a second spot at Stanford.         So the sailing

14       spot that we have, [02:00] that we’ll pay the coach, um,

15       he doesn’t care if it’s a sailor or not.

16   JOHN:       OK.

17   SINGER:     He doesn’t care one bit.     One bit.    So it could be

18       whatever we want.      Um, but again, I got to let him know

19       if we want that.

20   JOHN:       OK.   How soon is that?   What’s his -- his deadline

21       because I thought we’d wait until -- not wait but we’d

22       have until like the fall or something.          Or until like the

23       spring (inaudible).

24   SINGER:     Well, not until the fall because --
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1    JOHN:       The spring I thought.    This coming spring.

2    SINGER:     Yeah.    So it’ll be -- it prob-- let me -- I’ll have

3        to go and talk to him, try to talk to him tomorrow.           But

4        it --

5    JOHN:       OK.

6    SINGER:     He just wants to make sure that he -- before he goes

7        out and recruits a ton of kids, he wants to make sure

8        that he’s know he’s got somebody for next year.

9    JOHN:       Right.    And what does he need short-term?     Does --

10       he needs the 175 grand right away?

11   SINGER:     No, no.   He’s (inaudible) in good shape.      I mean we

12       already gave him some money for his coaches.

13   JOHN:       Yeah.

14   SINGER:     He just wants to solidify the spot as a guarantee

15       for sure because he need-- he needs to recruit.           See,

16       this year was his girl year [03:00] and next year he’s

17       going to split it between boys and girls because the team

18       is co-ed, of what he’s going to get.         So he doesn’t want

19       to overload too much on girls but not enough in all that.

20       So that’s why he needs to know right away.          But I will

21       have that conversation with him in the next day or two to

22       find out when our --

23   JOHN:       OK.

24   SINGER:     -- drop dead date is.
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1    JOHN:       All right.   So you’re telling me he’s going to want

2        something this -- before like Christmas kind of thing.

3        Is that true or is that...?

4    SINGER:     It sounds like it, yes.

5    JOHN:       Ugh.   OK.

6    SINGER:     Sounds like it.

7    JOHN:       Because (inaudible) seen the school.       They seen the

8        school when they were doing like water polo camp there.

9    SINGER:     No, no.   I know that.   I know that.    So let me --

10   JOHN:       I mean, what am I committing myself? I don’t want to

11       be a jerk here but, you know, what am I committing myself

12       to?    Because that’s the other thing I need to understand

13       because, you know, budget wise and everything and I’m not

14       --

15   SINGER:     Yeah, I don’t think --

16   JOHN:       I’m not like a super-gazillionaire here where I can

17       just throw away millions.        Yeah.

18   SINGER:     No, I know that.   Um...

19   JOHN:       Liquidity wise.    What -- when I do -- if I pull the

20       trigger, say I pull the trigger, what does that really

21       mean?    This (inaudible)?

22   SINGER:     I think that you’re not -- I think that you’re not -

23       -

24   JOHN:       (inaudible).
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1    SINGER:    -- pull -- you’re not -- it’ll be no more than

2        (inaudible) million and my hope is it’s 1,500,000 total

3        [04:00] for both.

4    JOHN:      OK.    So it’s between 1 -- 1,500,000 and 2,000,000?

5    SINGER:    Correct.

6    JOHN:      If they go -- if they go to these schools?         If they

7        go to a lesser school it’s 300 grand --

8    SINGER:    Then it’s a lot less.

9    JOHN:      -- (inaudible).

10   SINGER:    Yes, absolutely.

11   JOHN:      Yeah.   And if I pull the trigger, that means I have

12       to commit to him and pay (inaudible) Stanford?          What’s he

13       saying he wants?      If I said yes, what does that mean?

14       I’m also (inaudible) to him?

15   SINGER:    Well -- well, right now...      Essentially what I’ve

16       told him...      He wants a $1,000,000.     But I said to him we

17       can get him 500 now --

18   JOHN:      Mm-hmm.

19   SINGER:    -- and I -- if we get another spot at Stanford I’m

20       going to push you -- I’m going to try to push you down to

21       750.    OK.    Just so he --

22   JOHN:      OK.

23   SINGER:    Because if -- here’s my point to him.        Help me get

24       another spot at Stanford and then I can give the second
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1        coach less and give you the million.         Because I’d like to

2        stay around 1,500,000 to 1,700,000 overall at Stanford.

3    JOHN:      For 2 slots you’re saying?

4    SINGER:    Correct, [05:00] correct.

5    JOHN:      Is it some other coach?     How does that work for him?

6        Does he -- is he screwing his colleague?         Or (laughter) I

7        don’t know how that works.        He gets the lion’s share and

8        someone else gets less?

9    SINGER:    No, so what happens is -- it’s like...        I’ll give

10       you an example.     Like women’s lacrosse is always looking

11       for help.     Women’s fencing, looking for help.       This --

12       immediately they give us a spot, guaranteed spot, you --

13       we pay the coach, we get it done, and the other spot so I

14       can get 2.      That’s my goal.

15   JOHN:      OK.

16   SINGER:    But I’m going to -- but he wants to know where he

17       stands.      That’s why I’m going to have that conversation

18       with him in the next day or so.

19   JOHN:      Right.

20   SINGER:    At the same time --

21   JOHN:      (inaudible) helping (inaudible) --

22   SINGER:    -- I’m working on how --

23   JOHN:      -- three-quarters of a million this year,

24       (inaudible) this year.      Period.    And that’s it.     And
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1        then, you know, the rest you have to just, you know --

2        that’s it for --

3    SINGER:    Well --

4    JOHN:      -- 2 years (inaudible).

5    SINGER:    Well, that could be.     I -- I will try to get him to

6        do that.

7    JOHN:      Does he -- does he have time sensitivity on this

8        stuff or no, he doesn’t really care?

9    SINGER:    He does because he wants to figure out his

10       recruiting plan.     So --

11   JOHN:      Well, they (inaudible) money.      I know (inaudible)

12       because he got slots.      [06:00] So there’s 2 dimensions.

13       You’ve got the slot dimension, which he wants to make

14       sure he fills out and gets real competitive people for

15       the other slots.

16   SINGER:    Correct.

17   JOHN:      So then there’s the -- the -- the value of money.

18       Does he care about budget this year versus next year?

19   SINGER:    No.

20   JOHN:      You mentioned --

21   SINGER:    No.   Because we’ve already taken care of him for

22       this year.

23   JOHN:      He had the little small immediate need of 125, not a

24       big deal.
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1    SINGER:    Right.

2    JOHN:      And now he’s looking for the other, whatever,

3         million or million and a quarter?

4    SINGER:    Right.

5    JOHN:      Or 750 or whatever, 500.

6    SINGER:    Correct.

7    JOHN:      What’d we give him?     500?   No, I only gave -- I gave

8         you (inaudible).

9    SINGER:    You gave -- gave me -- yeah.       You gave us 500.

10   JOHN:      150-- 175 or -- OK.

11   SINGER:    Yeah.    Yeah.

12   JOHN:      So we could give him 5, we could give him 750 and

13        call it a day.     Not what happens if we go down that path?

14        Let’s start (inaudible) understand.        We say, “Yeah, I’ll

15        give 750,” but then they choose not to.         Someone else

16        could backfill or we could redeploy or how does that work

17        (inaudible)?

18   SINGER:    Well, that would be -- that -- I --

19   JOHN:      How -- how pregnant am I once I make this

20        (inaudible)?

21   SINGER:    Well, we’re -- we’re -- we’re pretty pregnant but

22        there’s always people who want the spot.

23   JOHN:      Mm-hmm.
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1    SINGER:      So I just -- I -- I can’t guarantee you that I can

2         find another party.      It depends on when that hits.

3         [07:00]    So if it hits early then, yes, I can -- I can

4         probably find somebody.      If it doesn’t hit early then it

5         becomes more difficult.

6    JOHN:        Right.   But isn’t that kind of unreasonable of him

7         to -- I don’t know how this works (inaudible) because

8         when -- when we talked about it last year, (inaudible) go

9         to the schools, see them, and (inaudible) to make this

10        call.

11   SINGER:      Sure.    But -- but here’s the difference, John.

12   JOHN:        It’s really hard.

13   SINGER:      If you want a guarantee and you want the first spot,

14        you got to -- you got to decide early.

15   JOHN:        Right.   I didn’t have that impression when we talked

16        originally but that was -- I thought the timing would be

17        like spring.      I had no problem.   But now they haven’t

18        even seen any schools yet.      Like ugh, I can’t make the

19        call.

20   SINGER:      Well, I --

21   JOHN:        But --

22   SINGER:      No, I -- so -- so give me a day or two and I’ll get

23        back to you.      At the same time, I’m working on the
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1         Harvard stuff and trying to get a second spot at

2         Stanford.

3    JOHN:      All right, cool.     And what is the Harvard timing?

4         When you going to have a (inaudible)?

5    SINGER:    I’m -- I’m hoping to have something around the first

6         of the year or before -- before.

7    JOHN:      OK.   So we won’t have anything there before we have

8         this call to make.

9    SINGER:    Correct.    Depends -- correct.     Correct.

10   JOHN:      [08:00] All right.     (inaudible) right.

11   SINGER:    And I’ll get back to you -- I’ll get back to you in

12        a day or two.    Let me just, um, get some more definition

13        around this.

14   JOHN:      All right.    And that’d be great.     So just a little

15        (inaudible) saying we got to make a blind choice.          You

16        know, it’s hard to go wrong with something like that,

17        right?   (laughter)

18   SINGER:    That’s true.    And you already know what it’s like to

19        live out there.     I get it.    Yeah.

20   JOHN:      I know.    But if they say, “Oh, I really want to go

21        to Harvard,” then oh, shit.       You know, I paid all this

22        money to Stanford.     (laughter)

23   SINGER:    I get you.    I got you.

24   JOHN:      That would be my luck, right.
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1    SINGER:    I got you.

2    JOHN:      All right.    But still a high class problem, right.

3         (inaudible).

4    SINGER:    Absolutely.

5    JOHN:      -- get into Harvard, right.      They wouldn’t get in

6         and so then (inaudible).

7    SINGER:    And did I tell (inaudible).

8    JOHN:      (inaudible) they don’t get into Harvard so it was

9         (inaudible) but you didn’t get in but you’re going to

10        Stanford so, you know, count your blessings.

11   SINGER:    I mean, you weren’t going to get into either one,

12        let’s just say, based on the numbers that it takes to get

13        in.

14   JOHN:      Yeah, (inaudible).

15   SINGER:    (inaudible) and they don’t even play the sports,

16        right.

17   JOHN:      Yeah.    (inaudible) they had a 2% shot or whatever

18        taking the test or whatever it comes out at.

19   SINGER:    Right, right.    So -- so I’ll get back to you in a

20        day or two, all right.

21   JOHN:      OK.   Well, I [09:00] appreciate the update.

22   SINGER:    OK.   I’ll let you know soon.
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1    JOHN:      (inaudible).    All right.    And then in December

2         (inaudible) how you manage your overall operation because

3         I do think I could help you there.

4    SINGER:    I got you.    I know that.

5    JOHN:      All right.

6    SINGER:    All right, thank --

7    JOHN:      (inaudible).

8    SINGER:    OK, John.    OK, bye-bye. [09:12]

9

10                             END OF AUDIO FILE
